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                 IN THE UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA

KHALIL HAMMOND, et al.,     :                 Honorable Timothy J. Savage
                            :
         Plaintiffs         :
                            :
     v.                     :                 No. 24-0922
                            :
THE PENNSYLVANIA DEPARTMENT :
OF CORRECTIONS, et al.,     :
                            :
         Defendants         :                 Filed Via Electronic Case Filing

    BRIEF IN SUPPORT OF THE DEFENDANTS’ MOTION TO TRANSFER
      PURSUANT TO LOCAL RULE 40.1(c)(2) AND 28 U.S.C. § 1404(a)

                                Procedural History

      Plaintiffs initiated this prospective class action with the filing of a complaint

on March 4, 2024; the pleading was later amended on May 29, 2024. See

Documents Nos. 1, 29. By their various claims for relief, Plaintiffs endeavor to stop

the Pennsylvania Department of Corrections “from placing individuals with

mental illness or psychiatric disabilities in solitary confinement.” Id., at ¶ 1. The

causes of action asserted include violations of the Eighth Amendment, the

Americans with Disabilities Act, and the Rehabilitation Act. Id., at ¶¶ 396-417.

      Plaintiffs — Khalil Hammond, David Thompson, Antoine Walker, Muwsa

Green, Tyrone Leonard and Malika Henderson — are individuals currently

incarcerated at various institutions within the Pennsylvania Department of

Corrections. Significantly, only Plaintiff Hammond is located within the area

served by the Courts of the Eastern District of Pennsylvania. Defendants are the

Pennsylvania Department of Corrections, Secretary of Corrections Laurel Harry,
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former-Acting Secretary of Corrections George Little, Executive Deputy Secretary

Michael Wenerowicz, Deputy Secretary for Reentry Lucas Malishchak, and

Director of Psychology Brian Schneider. On May 31, 2024, current lead counsel

entered their appearance on behalf of the Defendants, shortly thereafter withdrew

a previously filed motion and sought an extension of time by which to respond to

the amended complaint. See Documents Nos. 33, 35, 36, 37. Defendants now seek

transfer of this matter to the Middle District of Pennsylvania.

                            Statement of Alleged Facts

        Plaintiffs contend that the Pennsylvania Department of Corrections employs

long-term solitary confinement in several types of restrictive housing units. See

Document No. 29, ¶ 2. According to the Plaintiffs, those restrictive housing units

confine prisoners in “extremely small cells,” for “as many as 21 to 24 hours every

day,” and in conditions that “exacerbate the symptoms” of mental illness. Id., at ¶¶

4, 7.

                                Standard of Review

        In evaluating a request to transfer venue, the court must first determine

whether venue is proper in this district under 28 U.S.C. § 1391. Generally, venue is

proper only in: (1) a judicial district where any defendant resides, if all defendants

reside in the same State, (2) a judicial district in which a substantial part of the

events or omissions giving rise to the claim occurred, or a substantial part of

property that is the subject of the action is situated, or (3) a judicial district in

which any defendant is subject to personal jurisdiction at the time the action is

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commenced, if there is no district in which the action may otherwise be brought.

28 U.S.C. § 1391(b).

      The court next evaluates whether a transfer of venue is appropriate and

warranted under 28 U.S.C. § 1404(a). Under 28 U.S.C. § 1404(a), a court may

transfer venue to any other district court where the civil action might have been

brought if it serves the interests of justice and the convenience of the

parties. See Rouse v. Harley-Davidson, Inc., No. 1:20-CV-528, 2021 WL 254065,

at *2 (M.D. Pa. Jan. 26, 2021). “[T]he purpose of the section is to prevent the waste

‘of time, energy and money’ and ‘to protect litigants, witnesses and the public

against unnecessary inconvenience and expense.’” Van Dusen v. Barrack, 376 U.S.

612, 616, 84 S.Ct. 805, 11 L.Ed.2d 945 (1964) (quoting Cont'l Grain Co. v. Barge

FBL-585, 364 U.S. 19, 26–27, 80 S.Ct. 1470, 4 L.Ed.2d 1540 (1960)). Although the

district court is given the ultimate discretion in transferring venue, the exercise of

this discretion should not be liberal. Shutte v. Armco Steel Corp., 431 F.2d 22, 25

(3d Cir. 1970) (citing Handlos v. Litton Indus., Inc., 304 F. Supp. 347, 352 (E.D.

Wis. 1969)).

      Once the propriety of the proposed venue is determined, the court must then

balance a variety of public and private interests, either weighing for or against

transfer. See Jumara v. State Farm Ins. Co., 55 F.3d 873, 879 (3d Cir. 1995); Pa.

State Univ. v. Parshall, No. 4:19-CV-12922, 2020 WL 2217279, at *3 (M.D. Pa.

May 7, 2020). The Third Circuit Court of Appeals has identified the most



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commonly considered private and public interest factors when deciding a motion

to transfer venue. Jumara, 55 F.3d at 879.

      As private interest factors, the court should consider: (1) plaintiff's original

choice of forum; (2) defendant's forum preference; (3) whether the claim arose

elsewhere; (4) the convenience of the parties—indicated by their relative physical

and financial condition; (5) the convenience of the witnesses—to the extent that

the they may actually be unavailable for trial in either fora; and (6) the location of

books and records—to the extent they cannot be produced in the proposed

forum. Id. (internal citations omitted). In considering the public interest factors,

courts contemplate: (1) the enforceability of the judgement; (2) practical

considerations that could make the trial easy, expeditious, and inexpensive; (3) the

relative administrative difficulty in the two fora resulting from court congestion;

(4) the local interest in deciding local controversies at home; (5) the public policies

of the fora; and (6) the familiarity of the trial judge with applicable state law in

diversity cases. Id. at 879–80.

      When weighing these public and private interests, the burden is on the

movant to persuade the court that transfer is appropriate. Shutte, 431 F.2d at 25.

“[U]nless the balance of convenience of the parties is strongly in favor of

defendant, the plaintiff's choice of forum should prevail.” Id. (quoting Owatonna

Mfg. Co. v. Melroe Co., 301 F. Supp. 1296, 1307 (D. Minn. 1969)) (emphasis

supplied).



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                           Statement of Question Presented 1

Should this Court grant Defendants’ motion and transfer this case to the Middle
District of Pennsylvania because a majority of the factors relevant to a transfer of
venue consideration weigh in favor of granting the request?

                                        Argument

This Court should grant Defendants’ motion and transfer this case to the Middle
District of Pennsylvania because a majority of the factors relevant to a transfer of
venue consideration weigh in favor of granting the request.

       Venue should be transferred from the Eastern District of Pennsylvania to the

Middle District of Pennsylvania pursuant to § 1404(a). The Department of

Corrections maintains its Central Office at 1920 Technology Parkway,

Mechanicsburg, PA 17050, within the Middle District of Pennsylvania. All five of

the named Defendants’ current or previous principal place of business is the

Department’s Central Office. Currently, three of the five named Defendants also

reside in the Middle District of Pennsylvania. See Declaration of David

Radziewicz, attached as Exhibit A, ¶¶ 19-23; see also Holt v. Pennsylvania, 2018

WL 2363535, *11 (E.D. Pa. May 24, 2018) (“The residence of a state agency…is the

state capitol even when branch offices of the state agency are maintained in other

parts of the state.”) (citing Bentley v. Ellan, 1990 WL 63734, at *1 (E.D. Pa. May 8,

1990)). See also Dance v Commonwealth of Pa. 2018 WL 3350392, at*3 (E.D. Pa.

July 9, 2018) (holding that the Pennsylvania State Police resided where their

central offices were located for purposes of venue).




1 It is respectfully requested that the question presented   be answered in the affirmative.
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       The vast majority of the actions and incidents of which Plaintiffs complain

occurred outside of the Eastern District. The core of the amended complaint is an

allegation that various types of restrictive housing units employ solitary

confinement conditions. However, the overwhelming majority of those units are

operated outside of the Eastern District. Indeed, of the twenty-four (24)

institutions operated by the Department, only two are geographically located

within the Eastern District — at SCI-Chester and SCI-Phoenix, respectively. See

Exhibit A, ¶¶ 12-14. 2

       Throughout the Commonwealth, the Department maintains 23 standard

restrictive units of the type referenced in the amended complaint, currently

housing upwards of 1,500 inmates; only two of those units are operated within the

Eastern District, and house only 181 inmates. Id. As defined in the amended

complaint, the majority of the prospective class members within the “Mental

Health Class” and “Mental Health Damages Class” are confined outside of the area

served by the courts of the Eastern District. Id., at ¶¶ 15-18. The “Mental Health

Class” potentially includes upwards of 1,082 prisoners, 940 of whom are confined

outside of the area served by the courts of the Eastern District. Id., at ¶ 16. The

“Mental Health Damages Class” potentially includes upwards of 18,000 prisoners,

16,003 of whom are confined outside of the area served by the courts of the Eastern

District. Id., at ¶¶ 17-18.



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 See Pennsylvania Department of Corrections Monthly Population Reports:
https://www.cor.pa.gov/About%20Us/Statistics/Pages/Monthly-Population-Reports.aspx
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      The balance of public and private interest factors strongly favors

Defendants’ requested transfer. See Jumara, 55 F.3d at 879-80.

                            Plaintiffs’ Choice of Forum

      Plaintiffs chose to file this suit in the Eastern District of Pennsylvania.

Though a plaintiff’s choice is typically afforded significant weight, a "plaintiff's

choice of forum becomes 'substantially less important' when he sues

representatively on behalf of a class." See Panitch v. Quaker Oats Co., 2017 U.S.

Dist. LEXIS 51737 (E.D. Pa. April 5, 2017). Additionally, the significance of

Plaintiffs’ choice of forum should minimized because the overwhelming majority

of the incidents they complain of occurred outside of their chosen forum. See,

e.g., Sinochem Int'l Co. v. Malaysia Int'l Shipping Corp., 549 U.S. 422, 430, 127

S.Ct. 1184, 167 L.Ed.2d 15 (2007); Sinclair Cattle Co. v. Ward, 80 F. Supp. 3d 553,

564 (M.D. Pa. 2015); McCraw v. GlaxoSmithKline, No. CIV.A.12-2119, 2014 WL

211343, at *4 (E.D. Pa. Jan. 17, 2014); J.L. Souser & Assocs., Inc. v. J&J Snackfood

Corp., No. 06-CV-2043, 2007 WL 1217690, at *3 (M.D. Pa. Apr. 24, 2007). This

factor weighs in favor of transfer.

                          Defendants’ Forum Preference

      Defendants’ preference is to litigate this matter in the Middle District. The

policies governing the challenged operations are drafted, revised, discussed,

deliberated, approved and promulgated at the Department’s Central Office,

located within the Middle District. See Exhibit A, at ¶ 5. All Defendants utilize the

Central Office as their principal place of business, while three of the Defendants

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physically reside in the Middle District. Id., at ¶¶ 19-22. Additionally, Plaintiffs

Leonard and Henderson are currently confined at institutions within the Middle

District. Id., at ¶ 23. This factor weighs in favor of transfer.

                        Whether the Claim Arose Elsewhere

      Plaintiffs’ claims concern the placement and experience of prisoners in

various restrictive housing units that allegedly employ solitary confinement-like

conditions. As previously described, those units are operated by the Department

throughout the Commonwealth, with only two of the 24 such units being

geographically located within the Eastern District. Id., at ¶¶ 12-14. Further still, the

vast majority of prospective class members reside outside of the Eastern District,

and it can therefore be assumed that their claims thus arose elsewhere, as well. Id.,

at ¶¶ 15-18. Accordingly, the events giving rise to Plaintiffs’ challenge of the

Department’s restrictive housing policies largely have not occurred within the

Eastern District. Id. Indeed, only one prospective class representative resides in

the area served by the courts of the Eastern District. Id., at ¶¶ 23. This factor weighs

in favor of transfer.

                           The Convenience of the Parties

      This factor requires the court to consider the respective burdens on the

parties “as indicated by their relative physical and financial condition.” Jumara,

55 F.3d at 879. Though Defendants will not suffer a significant physical or financial

burden to litigate this case in either District, they will nonetheless likely be tasked

with arranging and coordinating the transportation of class members to the

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Eastern District. Because the vast majority of class members reside outside of that

area, the Department will undoubtedly incur increased costs, and public funds will

be unnecessarily expended. A more centralized venue could mitigate this concern.

This factor weighs in favor of transfer.

              The Convenience of Potentially Unavailable Witnesses

      The convenience of the forum for witnesses and those witnesses’ amenability

to compulsory process are relevant factors. See Solomon v. Cont’l Am. Life Ins. Co.,

472 F.2d 1043, 1047 (3d Cir. 1973). However, when considering the private interest

factor of the relative convenience of witnesses, the focus is limited to the witnesses

who may “actually be unavailable for trial in one of the fora.” Jumara, 55 F.3d at

879. Defendants are not currently aware of any witnesses that would likely be

unavailable for trial in any of the fora. This factor is likely neutral.

                         The Location of Books and Records

      The Department of Corrections is a Commonwealth Agency headquartered

in Cumberland County. See Exhibit A, at ¶ 3. The Department’s Central Office

provides the workspace for all executive-level decision makers and is the site at

which all policy records are maintained. Id., at ¶ 5. Other discoverable materials,

including electronic correspondence, are maintained by the Office of

Administration, located in Dauphin County, Pennsylvania. Prisoner records are

kept at the institution where the individual is housed, meaning that the records of

the vast majority of class members will be physically located outside of the Eastern

District. Id., at ¶ 9. This factor weighs in favor of transfer.

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                        The Enforceability of the Judgment

      Defendants are not aware of any reason why this factor would present a

concern in either forum. This factor is neutral.

                              Practical Considerations

      This factor weighs heavily in favor of transfer. As aforementioned, the entire

policy-making apparatus of the Department of Corrections exists within the

Middle District. Id., at ¶ 5. A trial in the Middle District would eliminate

unnecessary travel, lodging and personal expenses for Defendants and

Commonwealth witnesses, and preserve substantial public funds that would

otherwise be expended. This factor weighs in favor of transfer.

             The Relevant Court Congestion in the Competing Courts

      Defendants have no reason to believe that either District is significantly

more or less busy than the other. However, because it serves a far more populous

area, it is reasonable to believe that the Eastern District has a significantly higher

caseload, and therefore potentially greater congestion, than the Middle District. If

at all, this factor likely weighs in favor of transfer. See, e.g., York Grp., Inc. v.

Pontone, No. CIV.A. 10-1078 WL 3735157, at *13 (W.D. Pa. July 28, 2014).

           The Local Interest in Deciding Local Controversies at Home

      Only one Plaintiff currently resides in the Eastern District, and most

Defendants reside in the Middle District. See Exhibit A, ¶¶ 19-23. However, this

factor likely weighs only slightly in favor of transfer since there is little competing



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interest in deciding this controversy between neighboring Districts. See Rouse,

2021 WL 254065 at *6.

                           The Public Policies of the Fora

      This factor is likely neutral, since there likely exists few competing public

policies between neighboring Districts.

        The Familiarity of the Trial Judge with the Applicable State Law

      This factor is neutral.

      Ultimately, the twelve Jumara factors weigh in favor of the requested

transfer. Indeed, there are several factors that weigh heavily in favor of the

transfer, while only a few arguably favor denying the transfer. Even Plaintiff’s

choice of forum, a factor that should weigh heaviest in favor of continuing litigation

in the Eastern District, is diluted by the fact that an overwhelming majority of the

constitutional violations of which Plaintiffs complain occurred outside of the

Eastern District. This crucial factor, combined with the physical location of most

parties outside of the Eastern District, as well as most of the units identified in the

amended complaint, all suggest that a transfer to the Middle District is

appropriate.




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                                    Conclusion

      For all the above reasons, the Defendants respectfully request that the Court

grant their motion to transfer venue to the Middle District.

                                      Respectfully submitted,

                                      Office of General Counsel




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                            :
         Defendants         :              Filed Via Electronic Case Filing

                          CERTIFICATE OF SERVICE

      I hereby certify that the foregoing document was filed with the Court’s ECF

system and therefore simultaneously made available to all counsel of record.




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